The defendant has brought to the attention of this court the case of Hartford v. PublicUtilities Commission, 30 Conn. Sup. 299, in which a distinction is made between an ordinary administrative appeal as being record oriented and an ordinary civil action as being evidence oriented. The conclusion of the cited case is that the rules of discovery do not apply to an administrative appeal and that such an appeal is not a "civil action" as that phrase is used in § 52-197 of the General Statutes and in § 166 of the Practice Book.
The plaintiff contends that this is not an ordinary administrative appeal because of paragraphs in the complaint which allege that in a prior action in the New Haven Superior Court the constitutionality of the actions of the defendant has been questioned, that the actions of the defendant could only be the result of prejudice and discrimination against the plaintiff, that the defendant is illegally appointed and did not comply with the statutes, and that the zoning ordinance is invalid because of a lack of a comprehensive plan. *Page 130 
Although these contentions of the plaintiff are not ordinary, a careful study of Hartford v. PublicUtilities Commission, supra, brings this court to the conclusion that discovery is not the proper remedy for the plaintiff to prove his allegations.
   The defendant's objection to the motion for disclosure is sustained.